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CERTIFICATE OF THE CLERK OF THE SUPREME COURT
OF THE
STATE OF ARIZONA

I, Tracie K. Lindeman, Clerk of the Supreme Court of the State of Arizona, hereby certify
that, according to the records of my office and upon the recommendation of the
Disciplinary Clerk of the Supreme Court of Arizona

BRENNAN BOWEN
was on the 7” day of May, 2021 duly admitted to practice as an Attorney and Counselor
at Law in all the courts of Arizona; that no disciplinary proceedings are pending against
this attorney in the Arizona Supreme Court as of the date of this certificate; and that this
name now appears on the Roll of Attorneys in this office as an active member of the State
Bar of Arizona in good standing.

Given under my hand and the seal of
said Court this 13" day of July, 2023.

TRACIE K. LINDEMAN, Clerk
Oo
By (Com VDarninoa

Ana Ramirez CO)
Deputy Clerk II

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Supreme Court

STATE OF ARIZONA
ADMINISTRATIVE OFFICE OF THE COURTS

ROBERT BRUTINEL DAVID K. BYERS

CHIEF JUSTICE ADMINISTRATIVE DIRECTOR
OF THE COURTS

CERTIFICATE OF GOOD STANDING
ISSUED BY THE DISCIPLINARY CLERK
FOR AND ON BEHALF OF
THE SUPREME COURT OF ARIZONA

The Disciplinary Clerk pursuant to Rule 74, Rules of the Supreme
Court of Arizona, hereby certifies that according to the records of the State
Bar, BRENNAN BOWEN was duly admitted to practice as an attorney and
counselor at law in all courts of Arizona by the Supreme Court of Arizona
on May 7, 2021 and is now, as of the date of this Certificate, an active
member of the State Bar of Arizona in good standing.

Given under the seal of the Disciplinary
Clerk of the Supreme Count of Arizona
this i aul QS BUCS

Aaron Nash” ,
Associate DjsCiplinary Clerk

OR

Kristina Tuba
Associate Disciplinary Clerk

1501 WEST WASHINGTON STREET e PHOENIX, ARIZONA 85007-3222 ¢ 602-452-3300 (TDD) 602-452-3545
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DISCIPLINARY HISTORY

It is hereby certified that as of July 7, 2023, there are no disciplinary charges!! or
complaints!* pending, nor have any ever been filed, against BRENNAN BOWEN, an active

member of the State Bar of Arizona with Bar No. 036639.

DATED this UIT OY’ 2ORS

AE

Aaron Nash
Associate Weciplinary Clerk

Or

Kristina Tuba

Associate Disciplinary Clerk

1 “Charge means any allegation or other information of misconduct or incapacity brought to the attention of the State Bar. See Rule 46(f)4, Ariz.

R. Sup. Ct.
2 “Complaint” means a formal complaint prepared and filed with the disciplinary clerk. See Rule 46(f)7, Ariz. R. Sup . Ct.
